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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Ubiquiti Networks, Inc.
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 24, 2019:


       MINUTE entry before the Honorable Gary Feinerman:Motion to withdraw as
attorney [83] is granted. Attorney Jason J Keener terminated as counsel for Plaintiff.
Motion hearing set for 9/25/2019 [84] is stricken.Mailed notice.(jlj, )




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